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                         UNITED STATES DISTRICT COURT                   JU ( C.D     L'X CLERK
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                         W ESTERN DISTRICT OF W RGINIA                               L
                           CH ARI,OTTESW LLE DW ISION


UM TEDSTATESOFAMERICA                           CriminaIxumber: T'
                                                                 ,1Q CC                  t
                                                In Violation of:

DANIEL M CM AH ON                               18U.S.C.j245(b)(1)(A)
                                                Interferencew ith Candidate for
                                                E lective O ffice

                                                18U.S.C.j245(b)(4)
                                                Bias-M otivated Interference w ith
                                                C andidate for E lective O ffice

                                                18U.S.C.j875(c)
                                                Threats in Interstate C om m erce

                                 IN D I C T M E N T

The GrandJury charges,ata11timesmatezialtothisIndictment:
             Defendant DAN IEL M CM AHON ,a resident
                                                   tw of the State of Florida,used the

intem etand socialmedia accotmts to expresshis beliefs regarding race,color,nationalorigin,

religion,an.
           d othertopics. On these accotmts,M CM AHON expressed and promoted hisbelief

thatwhitepeople aresuperiorto mem bersofotherracial,ethnic,and religiousgroups.

      2.     Prior to Jatmary 7,2019,D .G.,atl African-Am erican resident of the City of

Charlotesviile,Virginia,decided to rtm forthe Democratic nomination to the Charlottesville
City Cotmcil, an elective oftk e in Chadottesville,Virginia. D.G.plnnned to nnnounce his

candidacy atan eventschedttled forJanuary 8,2019.

      3.     O n or about Januaty 7,2019,local new s outlets in Chadottesville reported that

D.G.plnnned to nnnolmce lzis candidacy for the Democratic nomination for City Council,and

thatheplnnned to announcethiscandidacy atthe eventscheduled forJanuary 8,2019.



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           4.       0n oraboutJanuary 7,2019,DefendantDANIEL M CM AHON,by threatofforce

    and violence,used the internet and his socialm edia accotmts to intim idate and interfere w ith

    D.G.'S qualifying and cnm paigning as a candidate for Charlottesville City Colmcil. D.G.

    thereafterlenrned ofthesetltreatsm adebyM CM AHON.

           5.       On oraboutJanuary 8,2019,atthe eventwhere D.G.had plnnned to nnnotmcellis

    candidacy,D.G.instead nnnounced thathe would notbe seeking the office of Charlottesville

    City Council.

                                            C O U NT ON E
                            (InterferencewithCandidateforElectiveOffice)
                                        18U.S.C.j245(b)(1)(A)
           6.        Theallegationssetforth in paragraphs 1through 5 are incorporated by reference

    and setforth fully herein.

           7.        From on or aboutJanuaty 7,2019 to on oraboutJanuary 10,2019,witllin the

    W estern DistrictofVirginiaand elsewhere,DefendantDAM EL M CM AHON,by threatofforce

    willfully intimidated and interfered with,and attempted to intim idate and interfere with,D.G.,

    becausehewasand had been,and in orderto intim idateD .G.from ,qualifying and campaigning

    asacandidateforCharlottesvilleCity Cotmoil,an electiveoftk e in Chadottesville,Virginia.

           8.       A11inviolation ofTitle18,Urlited StatesCode,Section245(b)(1)(A).




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                                       C O U NT TW O
                (Bias-M otivatedInterferencewith CandidateforElectiveOffice)
                                     18U.S.C.j245(b)(4)
               The allegationssetforth in paragraphs 1through 5 are incop orated by reference

and setforth fully herein.

              From on or aboutJanuary 7,2019 to on or aboutJanuary 10,2019,within the

W estern DistrictofVirginiaand elsewhere,DefendantDANIEL M CM AHON ,by threatofforce

willfully intimidated and interfered with,and attempted to intim idate and interfere with,D .G.,

because he was and had been, and in order to intim idate D.G.from ,participating,without

discrim ination on accotmt of race mld color,in a federally protected activity described in 18

U.S.C.j245(b)(1)(A),towit,qualifyingandcnmpaigningasacandidateforCharlottesvilleCity
Council,alaelectiveoffcein Charlottesville,Virgilaia.

       11. A11inviolationofTitle18,Uzlited StatesCode,Section245(b)(4).




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                                     C O UN T TH REE
                              (ThreatsinInterstateCommerce)
                                     18U.S.C.j875(c)
       12.    The allegationssetforth in paragraphs 1 through 5 are incorporated by reference

and setforth fully herein.

              On or about Januaty 7, 2019, w ithin the W estem D istrict of V irginia and

elsewhere,Defendant DANIEL M CM AHON lcnowingly and willfully transrnitted in interstate

andforeigncommerceacommlmicationcontainingathreattoinjureD.G.
              Al1inviolation ofTitle18,UrlitedStatesCode,Section875(c).


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        LLthisx dayofAugust,2019
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